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                            UNITED STATES OF AMERICA
                         DEPARTMENT OF TRANSPORTATION
                         FEDERAL TRANSIT ADMINISTRATION




                                MASTER AGREEMENT




               For Federal Transit Administration Agreements authorized by
      49 U.S.C. chapter 53 and Title 23, United States Code (Highways), as amended by
  the Infrastructure Investment and Jobs Act of 2021 (IIJA), the Fixing America’s Surface
    Transportation (FAST) Act, the Moving Ahead for Progress in the 21st Century Act
 (MAP-21), the Safe, Accountable, Flexible, Efficient Transportation Equity Act: A Legacy
 for Users (SAFETEA-LU), the SAFETEA-LU Technical Corrections Act of 2008, or other
                             federal laws that FTA administers.



 FTA MA(33)
 April 25, 2025

 http://www.transit.dot.gov
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                UNITED STATES DEPARTMENT OF TRANSPORTATION
                      FEDERAL TRANSIT ADMINISTRATION

                                   MASTER AGREEMENT

                                           PREFACE

                                     Statutory Authorities

 This is the official Federal Transit Administration (FTA) Master Agreement that applies to each
 Underlying Agreement (Grant Agreement, Cooperative Agreement, Loan Agreement, Loan
 Guarantee Agreement, or Line of Credit Agreement) for a specific Award authorized by:

 (a)    Federal transit laws, 49 U.S.C. chapter 53, as amended, including the following:

        (1)    The Infrastructure Investment and Jobs Act of 2021 (IIJA), Public Law No.
               117-58, November 15, 2021, and other authorizing legislation that may be
               enacted;

        (2)    The Fixing America’s Surface Transportation (FAST) Act, Public Law No.
               114-94, December 4, 2015;

        (3)    The Moving Ahead for Progress in the 21st Century Act (MAP-21), Public
               Law No. 112- 141, July 6, 2012, as amended by the Surface Transportation
               and Veterans Health Care Choice Improvement Act of 2015, Public Law No.
               114-41, July 31, 2015; and

        (4)    The Safe, Accountable, Flexible, Efficient Transportation Equity Act: A
               Legacy for Users (SAFETEA-LU), Public Law No. 109-59, August 10, 2005,
               as amended by the SAFETEA-LU Technical Corrections Act of 2008, Public
               Law No 110-244, June 6, 2008.

 (b)    Continuing Resolutions or Other Appropriations Resolutions or Acts funding the
        Department of Transportation during Fiscal Year 2025.

 (c)    Title 23, United States Code (Highways).

 (d)    Other federal legislation that FTA administers, as FTA so determines.

                               Purpose of this Master Agreement

 This FTA Master Agreement contains the standard terms and conditions that apply to the
 Underlying Agreement with the Recipient, which Underlying Agreement may take the form of
 an:



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 (a)    FTA Grant Agreement, including an FTA Grant Agreement for an award of federal
        assistance under the Tribal Transit Program;

 (b)    FTA Cooperative Agreement; or

 (c)    Transportation Infrastructure Finance Innovation Act (TIFIA) or Railroad
        Rehabilitation and Improvement Financing (RRIF) Loan, Loan Guarantee, Line of
        Credit, Master Credit Agreement for a Project overseen by FTA, or State
        Infrastructure Bank (SIB) Cooperative Agreement.

 THEREFORE, in consideration of the mutual covenants, promises, and representations herein,
 FTA and the Recipient agree as follows:




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                         GENERALLY APPLICABLE PROVISIONS

 Section 1.    Terms of this Master Agreement and Compliance.

 (a)    The Recipient must comply with all applicable federal laws, regulations, and
        requirements, and should follow applicable federal guidance, except as FTA
        determines otherwise in writing.

 (b)    To assure compliance with federal laws, regulations, and requirements, the Recipient
        must take measures to assure that other participants in its Underlying Agreements
        (e.g., Third Party Participants) comply with applicable federal laws, regulations, and
        requirements, and follow applicable federal guidance, except as FTA determines
        otherwise in writing.

 (c)    FTA may take enforcement action if the Recipient or a Third Party Participant
        violates an applicable federal law, regulation, or requirement, or does not follow
        applicable federal guidance.

 (d)    FTA and the Recipient agree that not every provision of this Master Agreement will
        apply to every Recipient or Underlying Agreement.

        (1)    FTA has divided this Master Agreement into the “Preface,” “Generally
               Applicable Provisions,” and “Special Provisions for Specific Programs.”

        (2)    This Master Agreement has an Appendix A illustrating the specific
               provisions of this Master Agreement that apply to the Tribal Transit
               Programs.

        (3)    Criteria determining which federal laws, regulations, requirements, and
               guidance apply include the type of Award, the federal law authorizing federal
               assistance for the Award, the federal law, regulations, or requirements
               governing how the Award must be implemented, the federal guidance
               pertaining to the Award, and the Recipient’s legal status as a “state,” “state
               instrumentality,” a “local government,” a federally recognized Indian Tribe
               (Indian Tribe), a “private nonprofit entity,” a “private for-profit entity,” or an
               individual.

 (e)    As provided in federal laws, regulations, requirements, and guidance, FTA will
        enforce only those federal laws, regulations, requirements, and guidance that apply
        to the specific FTA Recipient, its Third Party Participants, or to any Project and
        related activities encompassed in the Award, the accompanying Underlying
        Agreement, and any Amendments thereto.




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 (f)    Each provision of this Master Agreement must be interpreted in context with all
        other provisions of this Master Agreement and the Underlying Agreement. If a single
        provision is read apart from the rest of this Master Agreement or the Underlying
        Agreement, that provision might not convey the extent of the Recipient’s
        responsibility to comply with the requirements of this Master Agreement and the
        Underlying Agreement.

 (g)    This Master Agreement does not have an Expiration Date. This Master Agreement
        continues to apply to the Recipient and its Underlying Agreement, until modified or
        superseded by a more recently enacted or issued applicable federal law, regulation,
        requirement, or guidance, or Amendment to this Master Agreement or the
        Underlying Agreement.

 Section 2.    Definitions.

 (a)    List of Definitions. In addition to the definitions provided in 49 U.S.C. § 5302, as
        amended, or in previous legislation if circumstances may require, the Recipient
        agrees that the following definitions apply:

        (1)    Application means the request for federal assistance submitted that is signed
               and dated by the Applicant or an official authorized to act on the behalf of the
               Applicant, and includes all explanatory, supporting, and supplementary
               documents filed with FTA by or on behalf of the Applicant, and has been
               reviewed by FTA staff and addresses FTA’s comments and concerns. An
               application for federal assistance in the form of a Grant or Cooperative
               Agreement must be submitted in FTA’s Transit Award Management System
               (TrAMS).

        (2)    Approval, unless FTA determines otherwise in writing, means a written
               statement of an authorized federal official transmitted electronically or in
               typewritten hard copy expressly permitting the Recipient to take or omit an
               action in connection with its Underlying Agreement, and signed by a federal
               official authorized to permit the Recipient to take or omit an action that may
               not be taken or omitted without the Federal Government’s permission.
               Approval does not mean permission to take or omit a similar action other
               than the specific action for which approval was given and does not include an
               oral permission or interpretation, which has no legal force, authority, or
               effect. For purposes of this Master Agreement, the definition of “approval”
               also applies to “concurrence” and “waiver.”

        (3)    Associated Transit Improvement means, with respect to a Project or an area
               to be served by a Project, an activity that is designed to enhance transit
               service or use and that is physically or functionally related to transit facilities.



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       (2)    The Comprehensive Alcohol Abuse and Alcoholism Prevention, Treatment
              and Rehabilitation Act of 1970, as amended, 42 U.S.C. § 4541, et seq.; and

       (3)    The Public Health Service Act, as amended, 42 U.S.C. §§ 290dd – 290dd-2.

 (j)   Access to Services for Persons with Limited English Proficiency. The Recipient
       agrees to provide meaningful access to public transportation services to persons with
       limited understanding of English to comply with Title VI of the Civil Rights Act of
       1964, as amended, 42 U.S.C. § 2000d, et seq., and its implementing regulation at 28
       CFR § 42.405(d), and appliable U.S. Department of Justice guidance.

 (k)   Other Nondiscrimination Laws, Regulations, Requirements, and Guidance. The
       Recipient agrees to comply with other applicable federal nondiscrimination laws,
       regulations, and requirements, and follow federal guidance prohibiting
       discrimination.

 (l)   Remedies. Remedies for failure to comply with applicable federal Civil Rights laws,
       regulations, and requirements, and failure to follow guidance may be enforced as
       provided in those federal laws, regulations, requirements, or guidance.

 (m)   Federal Law and Public Policy Requirements. The Recipient shall ensure that
       Federal funding is expended in full accordance with the U.S. Constitution, Federal
       Law, and statutory and public policy requirements: including, but not limited to,
       those protecting free speech, religious liberty, public welfare, the environment, and
       prohibiting discrimination; and the Recipient will cooperate with Federal officials in
       the enforcement of Federal law, including cooperating with and not impeding U.S.
       Immigration and Customs Enforcement (ICE) and other Federal offices and
       components of the Department of Homeland Security in the enforcement of Federal
       immigration law.

 (n)   Federal Anti-Discrimination.

       (1)    Pursuant to section (3)(b)(iv)(A), Executive Order 14173, Ending Illegal
              Discrimination and Restoring Merit-Based Opportunity, the Recipient agrees
              that its compliance in all respects with all applicable Federal anti-
              discrimination laws is material to the government’s payment decisions for
              purposes of section 3729(b)(4) of title 31, United States Code.

       (2)    Pursuant to section (3)(b)(iv)(B), Executive Order 14173, Ending Illegal
              Discrimination and Restoring Merit-Based Opportunity, by entering into this
              Agreement, the Recipient certifies that it does not operate any programs
              promoting diversity, equity, and inclusion (DEI) initiatives that violate any
              applicable Federal anti-discrimination laws.



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